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        EXHIBIT 1
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                              UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

    CIN-Q AUTOMOBILES, INC., et al.,                )
                                                    )
                                       Plain tiffs, )
            v.                                      )
                                                    )
    BUCCANEERS LIMITED                              )                Case No. 8:13-cv-0 1592-AEP
    PARTNERSHIP and JOHN DOES 1-10,                 )
                                                    )                     Magistrate Judge
                                     Defendants, )                       Anthony E. Porcelli
                                              )
                                              )
    TECHNOLOGY TRAINING
                                              )
    ASSOC IA TES, INC., et al.,
                                              )
                                In tervenors. )

                         SETTLEMENT AGREEMENT AND RELEASE

          This Settlement Agreement and Release is entered into between Plaintiffs Cin-Q

   Automobi les, Inc. (''C in-Q") and Medical & Chiropractic Clin ic, Inc. ("M&C") (col lectively,

   "'Plaintiffs"') and Defendant Buccaneers Team LLC. f/k/a Buccaneers Limited Part nership ("'BTL")

   in order to effect a full and tinal settlement and dismissal with prejud ice or all claims against BTL

   as alleged in the case captioned Cin-O Automobi les. Inc .. et al. v. Buccaneers Limited Partnership,

   Case No. 8: 13-cv-01592-AEP (M.D. Fla. 2013) on the terms set forth below and to the full extent

   reflected herei n. subject to approval of the Court. Capitalized terms shall have the meaning

   ascri bed to them in Sect ion II of thi s Settlement Agreement.

                                              I.   RECITALS

          A.      On or about June 15, 20 I 3, Plaintiff Cin-Q filed a Complaint in the United States

   Distri ct Court fo r the Middle District of Florida. alleging that in 2009 and 20 IO BT L improperly

   sent advertise ments by focsimile. Plainti ffs Ii led a Second Amended Complaint ("SAC'), add ing

   M&C as a Plai ntiff on January 3, 201 4. Pla inti ffs sought actual damages and statutory damages
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  under the TCPA on behalf of them selves and a proposed class consisting of"[ a] II persons who

  ( I) on or after fo ur years prior to the fi ling of this action, (2) were sent telephone facs imile

   messages of material advertising the commercial avai lab ility of any property, goods, or services

   by or on behalf of [BTL,] (3) from whom [BTL] did not obtain prior express permission or

   invitation to send those faces, (4). with whom [BTI.] did not have an estab li shed business

   relationship. and (5) did not display a proper opt-out notice.··

          B.      On December 17, 20 14, the district cou rt denied both parties summary judgment.

   (Order. Doc. 167). The Court fo und there were genu ine issues of material fact regarding the issue

   of whether BTL was liable as the ·'sender" of the faxes. ruling that a jury must dec ide the question.

          C.      On March 25. 2016, Plainti ffs fil ed their initial Motion for Class Certification.

   (Doc. 207). Thereafter, this case was stayed during the pendency of a settlement in another class

   action against BTL in Technology Training Associates.              Inc .. et al. v. Buccaneers Lim ited

   Partnership. Case No. 8: 16-cv-0 1622-MSS-AE P (M .D. Fla. 20 16) (the ··TTA Action"). See Tech.

   Training Assoc.1·.. Inc. v. Buccaneers Ltd. P "ship . 874 F.3d 692. 697 ( I I th Cir. 20 17) (reversing

   denial of Cin-Q Plaintiffs' motion to intervene in the TTA Action); Tech. Training Assocs., Inc. v.

   Buccaneers l td. P 'ship, No. 8:16-CV-1622-T-AEP, 2019 WL 4751799, at *18 (M.D. Fla. Sept.

   30, 20 I9) (vacating preliminary approval and decertifying TTA settlement class).

           D.     On January 17. 2020. the district court ordered the parties to hold a settlement

   conference with Magistrate Judge Sansone and appointed Michael C. Addison Interim Lead

   Counsel. (Doc. 284). The COYID-19 pandemic delayed the conference until September 22, 2020,

   when it was held via teleconference, and subsequent negotiations continued through Judge

   Sansone. (Doc . 3 12).




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          E.      On or about June 9. 202 1. the Parties reached an agreement in principle that would

  resolve the claims in Plaintiffs' Second Amended Complaint and this Litigation on a class-wide

  basi s, subject to fina lization of a mutually-agreeable settlement agreement and court approval.

          F.      BTL denies all material allegations in the Litigation and has asserted a variety of

  affirmative defenses. BTL spec ifically den ies that it has engaged in any wrongdoing whatsoever,

  that it has any liabi lity in connection with the claims asserted or that could have been asserted in

  the Litigation and further denies that the claims in the Litigation can properly be maintained as a

  class action, other than for the purposes of settlement.

          G.      Plaintiffs and Class Counsel have conducted an e:--amination of the facts and

   documents relating to the Litigation, including documents and in formation produced by BTL in

   discovery prior to settlement discuss ions, and have concluded that this Settlement provides

  substantial benefits to Plaintiffs and the Settlement Class and resolves all issues that were or could

   have been raised in the Litigation without pro lo nged liti gation and the risks and uncertainties

   inherent in litigation. Plaintiffs and Class Counse l have furthe r co ncluded that this Settlement

   is fa ir. reasonable, adeq uate and in the best interest of the Settlement Class.

          H.      BTL den ies each and every allegation o f wrongdoing, li abili ty and damages

   that were or could have been asse rted in the Litigati on and furth er denies that the claims in

   the Litigation would be appropriate for class treatm ent if the Litigation were to proceed

   through li tigation and trial. Nonetheless, without adm itting o r conced ing any wrongdoing,

   liabi li ty or damages or the appropriateness of Plaintiffs' clai ms o r similar claims fo r class

   treatment, BTL consents to the Settlement solely to avo id the expense. inconvenience and

   inherent risk of liti gatio n as well as continued di sruptio n of the ir business operatio ns.




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           I.     Nothing in this Senlement or Settlement Agreement sha ll be construed as an

   admi ss ion or concession by BTL of the truth of any allegations raised in the Litigation or of

   any fau lt, wrongdoing. liability or damages or any kind .

          .J.     This Settlement Agreement. its terms. documents related Lo ir and rhe

   negotiations or proceedings connected with it shall not be o ffered or received into evidence

   in this case or in any other action or proceed ing to establish any liability or adm ission by BTL.

            NOW, THEREFORE. in consideration of the fo regoing and the mutual

    covenants. promi ses and genera l releases set fo rth be low and subject to prelim inary and

    final approval by the Court, the parties hereby agree as foll ows:

                                          II.   DEFINITIONS

          As used herein. the follow ing terms shall have the meaning set fo11h be low.

          /\.     ../\llorneys · Fee /\ward.. means the Court-approved a\\'ard of anorncys· fees in an

   amount not to exceed in total 25% of the Set1lcment Fund. to Class Counselplus reasonable out-

   of-pocket expenses incurred not to exceed $250,000, to be pa id from the Settlement Fund, as

   defi ned in Section VI. Paragraph A.

          8.      --Avai lable Award Total .. means the amount of money in the et eulement Fund

   avai lable to pay such Awards.

          C.      "Award" means the cash compensation that Settlement Class Members who subm it

   Valid Claims shall be entitled to receive as detai led in Sections IV and VIII and payable from the

   Net Settlement Fund.

          D.      ··BTL .. shall mean Defendant Buccaneers Team LLC, f/ k/a Buccaneers Limited

   Partnership.

          E.      ·'BTL Counsel" means Latham & Watkins LLP and Holland & Knight.



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            F.   "CAFA Notices" means the notice of thi s sett lement to be served upon State and

   Federal regulatory authorities as required by the Class Action Fairness Act of 2005, 28 U.S.C.

  § 1715.

            G.   ··Cla im Deadline·· means the date by wh ich Class Members must submit Claims

   Forms to be eligible fo r the bene fits described herein, which date will be specified in the Class

  Notice.

            H.   "Claim Form" means the claim fo rm that Settl ement Class Members must complete

  and subm it on or before the Claim Deadline and sign subject to penalty of pe1jury to be eligible

   for the benefits described herein, which shall be without material alteration from Exhibit A. Claim

   Forms will be processed after the Effective Date.

            I.    "Class Counsel'' mea ns Michael C. Add ison and the law fi rm of Addison Law

   Office. P.A. , Ross M. Good. Glenn L. Hara. and Brian .J . Wanca and the law firm of Anderson +

   Wanca as well as such other counse l (if any) that the Court appoints.

            J.    "Class Notice" means the Court-approved forms of notice to the Settlement Class,

   which will noti fy members of the Settlement Class of entry of the Prel iminary Approva l Order and

   the scheduli ng of the Fa irness Hearing, among other things.

            K.    "Court" means the United States District Court for the Middle District of Florida.

            L.    "Days" means calendar days, except that when computing any period of time

   prescribed or allowed by this Settlement Agreement. the day of the act. event or default from which

   the designated period of time begins to run shall not be inc luded. Furthermore. when computing

   any period of time prescribed or allowed by thi s Settlement Agreement, the last day of the period

   so computed shall be included, unless it is a Saturday, a Sunday or a Federal or State of Florida




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  legal holiday, in wh ich event the period runs until the end of the next day which is not a Saturday,

  Sunday or Federal or State of Florida legal hol iday.

          M.        ··Effective Date·· means the date defined in Section XII I.

          N.        ··Fax Notice'· shall mean the notice of the settlement provided to the Settlement

  Class sent to the fax numbers in the Biggerstaff fax number database, if the Court orders such Fax

  Notice. which shall be without material alteration from Ex hibit B.

          0.        ··Fairness Hearing·· means the hearing at wh ich the Coun orders final approval of

  the Settlement.

          P.        " Final" means final as defined in Section XI II , Paragraph B.

          Q.        "Final Order and .Judgment" means a fina l order entered by the Court after the

   Fairness Hearing. granting approval of the Sett lement as furthe r described in Section XI.

          R.        '"Incentive Award" means the Court-approved award, if any. to the individual class

   representatives as defined in Section VI, Paragraph Band payable from the Net Settlement Fund.

          S.        ·'Litigation" means the action captioned Ci n-O Automobi les. Inc .. et al. v.

   Buccaneers Limited Partnership. Case No. 8: 13-cv-0 1592-AE P (M. D. Fla. 20 13).

          T.        ·'Mailed Notice'· shal l mean the notice of the settlement provided to the Settlement

   Class by first class mail, postage pre-paid, which shall be without material alteration from Exh ibit

   8.

          U.        ·· et Sett lement Fund·· means the Settlement Fund. less the amounts paid for the

   Attorneys' Fee ;\ward. Notice and Administration Costs. and Incenti ve Awards. as described in

   more detai l in Section IV.

          V.        ·'Notice And Adm inistration Costs" means the reasonable and authorized costs and

   expenses of the Settlement Class Notice Program and all reasonable and authorized costs and



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   expenses incurred by the Settl ement Administrator in ad ministering the Settlement. includ ing but

   not limited to costs and t:xpenses associated with assisting members of the Sett lement Class.

   processing claims, escrow ing fund s, issuing and mailing the benefits prov ided by the Settlement

   and other reasonable and authorized fees and expenses of the Settlement Administrator.

           W.      ·· orice Date.. means the first day on which the Settlement Administrator begins

   di sseminating the Class    ot icc.

           X.      --opt-Out" shall refer to a member of the Settlement Class who properly and timely

   subm its a request for exclusion from the Settlement Class as set fo rth in Section IX. Paragraph B.

   An Opt-Out may rescind a request for excl usion by submitting a Claim Form to the Settlement

   Administrator to obtain bene fits under the Se1tlemcnt.

           Y.      ··Opt-Out List"· shall refer to the list compi led by the Sett lement Administrator

   identifying those who properly and timely submit a request for exclusion from the Settlement Class

   and become Opt-Outs.

           7-.     ··Opt-Out and Object ion Date·· means the date by wh ich a req uest for exc lusion

   must be filed with the Sc1tlement Administrator in order for a member of the Se1tlement Class to

   be excluded from the Settlement Class, and the date by wh ich Settlement Class Members must fil e

   objections. if any. to the Settlement.

           AA .    --Parties.. means Plainti ffs and Se1tlement Class Members together with BTL.

   Plaint iffs and Selllement Class Members hall be collecti vely re ferred to as one --Party:· with BTL

   as the other ·'Party."

           BB.     --Person" means an indi vidual , corporation, partnership, limited partnership, lim ited

   liability com pany. association. member. joint stock company. estate. lega l representative. trust.




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  unincorporated association. any business or legal en tity and such indi vidual· s or entity's spouse,

  heirs, predecessors, successors, representatives and assignees.

          CC.     ·'Plainti ffs" means Cin-Q Automobiles, Inc. and Medical & Chiropractic Clinic,

   Inc.

          DD.     --Preli minary Approval Date .. means the date the Preliminary Approval Order has

  been executed and entered by the Court and received by counse l for the Parties.

          EE.     --Prelimi nary Approval Order" means the order defined in Section X and entered

  by the Court preliminary approving the Settlement.

          FF.     --Publicat ion Notice•· shall mean the notice of the settlement provided to the

   Settlement Class by pubIication via one-quarter page advertisements on r,vo consecuti ve Sundays

   in the Tampa Bay T imes, the Sarasota Herald Tribune, and the Gainesville Sun, if the Court orders

   such Publi cation Notice. wh ich shall be without material alteration from Exhibit C.

          GG.     ·' Release" means the release and di scharge. as o f the Effective Date, by Plaintiffs

   and all Settlement Class Members (and their respecti ve present. fo rmer and future adm in istrators.

   agents, assigns, attorneys, executors, heirs, partners, predecessors-in-interest and successors),

   who have not excluded themselves from the Settlement Class, of the Released Persons and shall

   include the agreement and commitment by Plaintiffs and all Settlement Class Members to not now

   or herea~er initiate. maintain or assen against the Released Persons or any of them any and all

   causes of action, claims, rights, demands, actions, claims for damages, equitable, legal and/or

   administrative relief, interest, demands or rights, including without limitation, claims for damages

   of any kind. includ ing those in excess of actual damages. whether based on federal. state or local

   law. statute, ordinance. regulation. contract. common law or any other sources that have been,

   could have been, may be or could be alleged or asserted now or in the future by Plaintiffs or any



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   Se11lernent Class Members against the Released Persons. or any of them. in the Litigation or in

   any other court action or before any adm inistrative body (includ ing any regu latory entity or

   organizati on), tribunal, arbitration panel or other adjudicating body arising out of or related to the

   Released Claims.

           HH.     ··Released Claims·· means any and all cla ims. actions. causes of action. rights.

   demands. suits. debts, liens, contracts, agreements, offsets or liabilities, inc lud ing but not limited

   to statutory consumer protection claims, tort claims, conversion claims, negligence clai ms, claims

   fo r breach of contract. breach of the duty of good fa ith and fa ir deal ing. breach of statutory duties.

   actual or constructive fraud. misrepresentations. fraudulent inducement. statutory and consumer

   fraud. breach of fid uciary duty, un fair business or trade practices, conversion. restitution.

   resc ission, compensatory and punitive damages, injunctive or declaratory relief, attorneys ' fees,

   interests. costs, penalties and any other claims. whether known or unknown, alleged or not al leged

   in the Litigation. suspected or unsuspected. contingent or matured. under federal. state or local

   law. which Plaint iffs. Class Counsel and/or any Settlement Class Member had, now have or may

   in the future have with respect to any conduct, act, omissions, facts, matters. transactions or oral

   or wrinen statements or occurrences on or prior to the Pre Iim inary Approva l Date arising from or

   re lating to facs imi le advertisements offering tickets lor Tampa Bay Buccaneer games sent in 2009

   or 20 IO by and/or on behalf of the Released Persons, Fax Qom and/or any entit ies hired directly or

   indi rectly by FaxQom to the Releasing Persons, including, without limitation, the causes of action

   and allegations made by Plainti ffs in the Litigation as we ll as claims and allegations that the

   Released Persons violated any consumer protection. decept ive trade practices acts. privacy laws,

   the TCPA and/or and common law of any state or the District of Col umbia. This release will not

   release claims regarding advertis ing faxes (if any) sent after 20 I0.



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            11.     " Released Persons" means BTL, its affi liates, past, present and future direct and

   ind irect predecessors, successors, assigns, parents, subsidiaries, affi liates, joint venturers,

   pa1tnerships, limi ted liabi lity companies. corporations, unincorporated entities, divisions, groups,

   directors. officers. shareholders. members. employees. partners. agents, insurers and attorneys.

   Released Persons does not include FaxQom or any entities hired by FaxQom to send facsimi le

   advertisements offering tickets for Tampa Bay Buccaneer games sent in 2009 or 20 I 0.

            JJ.     "Releasing Persons" means Plaintiffs and al l Settlement Class Members. and the

   respecti ve present, fo rmer and future ad mini strators. agents. assigns. attorneys. executors. heirs,

   partners. predecessors-i n-interest and successors of each of Pia inti ffs and Settlement Class

   Members.

             KK .   ·'Settlement•· means the settlement set fo rth in this Settlement Agreement.

             LL.    ·'Settlement Adm inistrator" means the independent professional service company

   10   be selected by the Parties, subject to approval of the Court, which ,vi ii administer Class Notice,

   admi nister the Settlement in accordance with this Settlement Agreement, maintain the Settlement

   Website and engage in any other tasks directed by the Court, Class Counse l or BTL Counsel.

             LL.    ·'Scrtlement /\greement"' or "Agreement"· means th is Sett lement Agreement and

   Release. includ ing all exhibits hereto.

             MM.    "Settlement Class" means all Persons who fa ll withi n the definition of the class

   identified in Section 111, Paragraph A.

             NN.    ·'Sett lement Class Members" means all Persons in the Settlement Class who do not

   exclude themselves (i.e .. become Opt-Outs) pursuant to Section IX , Pa ragraph A.




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              00.     "Senlement Class Notice Program" means the process devised by the Parties and

   the Senlcment Adm inistrator, and approved by the Court, for noti fy ing the Sett lement Class of the

   Se1tlemen1 and Seulement Agreement.

              PP.     ··Settlement Fund" means $ 19,750,000 as descri bed in more detail in Section IV.

              QQ.     "Settlement Website" means the dedicated website created and maintained by the

   Settlement Administrator. which will contain relevant documents and in fo rmation about the

   Settlemen t. including this Se1tlement Agreemen t. the Clas Notice. the Claim Form. and Pla inti ffs ·

   Motion !or Attorneys' Fee /\ward and Incentive Awards.

              RR.     --TC PA'. means the Telephone Consumer Protection Act of I 99 1. 47 U.S.C.

   ~   227.

              S .    ··Valid Claim·· means a timely and full ) completed Claim Form submitted by a

   Settlement Class Member as more fu lly described in Section VII I.

              TT.    The plural of any defined term includes the singular, and vice versa, as made

   necessary in context.

                    III.     PROPOSED C LASS FOR SETTLEMENT PURPOSES

              A.     Pursuant to Fed. R. Civ. P. 23. the Parties hereto agree to certificat ion, for

   settlement purposes on ly, of the fo llowing Settlement Class:

              A II persons who received or vvere successfull y sent in 2009 or 20 IO one or more
              lacsimile advertisements relating to tickets for Tampa Bay Buccaneers games.

              Specifically excluded from the Scttkmcnt Class arc the fol lowing Persons:

                      (i)      BTL and its respective parents, subsidiaries, div isions, affiliates,
              assoc iated entities, business units, predecessors in interest, successors, successors
              in interest and representatives and each of their respective immediate fam ily
              members;

                     (ii )   Class Counsel; and




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                   (iii )   The judges who have presided over the Litigat ion and any related
          cases.

          B.       Solely for the purpose of implementing this Senlement Agreement and effectuating

   the Settlement, the Parties stipu late to the entry of an order preliminarily certifying the Settlement

   Class, appoi nting Pia intiffs as representatives of the Settlement Class and appointing the fo llowing

   as counse l fo r the Settlement Class:

            Michael C. Addison                        Ross M. Good
            ADDISON LAW OFF ICE, P.A.                 Glenn L. Hara
            1304 Alicia Avenue                        Brian J. Wanca
            Tampa, Florida 33604                      ANDERSON + WANCA
            Telephone: (8 13) 223-2000                3701 Algonquin Road, Suite 500
            Facsimi le: (8 13) 228-6000               Roll ing Meadows, Ill inois 60008
                                                      Telephone: (855) 827-2329
                                                      Facsimile: (847) 368- 1501

          C.       So lely for the purpose of im plementing this Settlement Agreement and effectuating

   the Settlement, the Parties stipulate to the Court entering an order preliminarily finding that

   Plainti ffs and Class Counsel are adequate representatives of the Settlement Class.

           D.      In the event that the Settlement Agreement is terminated pursuant to its terms or is

   not approved in a1iy materi al respect (including with respect to the Set1lement Class Notice

   Program) by the Court. or such approval is reversed, vacated or modified in any material respect

   by the Court or by any other court, the certification of the Settlement Class shall be deemed

   vacated. th e Litigation shall proceed as if the Settlement Class had never been certified and no

   reference to the Settl ement Class. this Settlement Agreement or any other Settlement documents,

   shall be made fo r any purpose in the Litigation or in any other action or proceeding.

                                   IV.      BENEFITS TO THE CLASS

           A.       Pursuant to the terms and condi ti ons set fo rth in this Agree ment, BTL agrees to

    fund a Settlement Fund of up to $ 19.750.000. which ,vi ii be used to pay all Awards. Attorneys·

    Fee Awards. Notice and Ad mini stration Costs and Incentive Awards. In no event shall BTL

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   have any fu rther obligatio n   1n    term s o r this Settlement above and beyond the foregoing

   amount.

          B.      Subj ect to the terms of thi s Agreement, Settlement Class Members who received or

   were successfu lly sent in 2009 or 20 IO one or more unsolicited facs imile advertisements relating

   to tickets for Tampa Bay Buccaneers games sent by or on behalf of BTL and who submit a Valid

   Claim shall be eligible to receive up to:

                  (i)     $350 for the first such facsimil e;

                  (ii)    $ 125 fo r the second such facsi rn ile;

                  (iii)   $90 for the third such fac si mi le:

                  (iv)    $2 5 for the fou rth such facsimi le; and

                  (v)     $25 fo r the fifth such facsimile.

          C.      No later than fourtee n ( 14) Days after the Part ies have resolved any disputes

   regarding rejected cla ims. the Settlement Adm inistrator will prov ide Class Counse l and BTL

   Counsel with a report identifying the total of the Awards and the amount of money in the Net

   Senlement Fund available to pay such Awards ("Available Award Total"). If the Awards exceed

   the Ava ilable Award Total. the Awards to the Settlement Class Members who submitted Valid

   Claims will be reduced on a   Q!:Q   rata basis until the Awards eq ual the Avai lab le Award Total.

           D.     Without admitting wrongdoing or liability and solely to avoid the cost and

   disruption of further litigation, BTL further agrees to the Court's entry of an injunction enjoining

   BTL from sending any unsolicited , fac simile advertisements that do not otherwi se comply with

   the TCPA.




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                                   V.    THE SETTLEMENT FU 0

           A.      BTL shall have no obl igation to make any payments under this Settlement

   Agreement unti l the Cou1t enters a Preliminary Approval Order.            Once the Court enters a

   Preli minary Approval Orde r, BTL shall pay reasonable Notice and Administration Costs arising

   under this Sett lement Agreement by making such payments di rect ly to the Settlement

   Administrator (or to such other party incurring such costs) as those costs are incurred and payment

   becomes due.

          B.      With in fo rty-five (45) Days after the Effective Date. BTL wil l cause an amount

    ufficient to cover al l Valid Claims. Anorneys· Fee Award and Incenti ve Awards. but 110110 exceed

   $ 19,750.000. to be transferred into an interest-bearing bank account (the "Settlement Account")

   designated by the Settlement Administrator. Any interest that accrues on the Settlement Fund in

   the Settlement Account will be added to the Settlement f-und. Any payments made by BTL fo r

   Notice and Administrat ion Costs shall reduce the max imum amount BT L wil l have to contribute

   to the Settlement Account.

          C.      Any amounts remaining in the Sett lement Fund fo llowing disbursement of al l

   /\wards. Attorneys' Fee Award. Notice and Administration Costs and Incentive Awards shall

   revert in l"u ll to BTL within fourteen (14) Days of the payment of all cla ims.

          D.      Under no circumstances sha ll BTL be obl igated to pay more under this Settlement

   Agreement than $ 19. 750.000 to the Settlement Fund, including costs for Notice and

   /\dministration Costs.

                VI.    ATTORNEYS' FEE AWARD AND INCENTI VE AWARDS

          A.      On the same day the Motion fo r Prel iminary /\ pprova l is approved, Class Counse l

   will fi le a Mot ion for Attorneys' Fee Award and Incenti ve Award with the Court seek ing an

   Attorneys· Fee Award in an amount not to exceed in total 25% of the Settlement Fund, plus

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   reasonable out-of-pocket expenses incurred not to exceed $250,000, to be paid from the Settlement

   Fund. BTL wiII not oppose Class Counsel's application for said award of fees and expenses. Class

   Counsel agree that once BT L has funded the Settlement Fund. BTL's obligations to Class Counsel

   shall be full y satisfied and di scharged. Class Counsel sha ll have no further or other claim aga inst

   BTL, includi ng but not lim ited to any attorneys· lien claim, and that BTL shall have fully

   discharged its obl igation to pay fees, costs and expenses to any lawyers claim ing to represent the

   interests of the Settlement Class.

          8.      Pla intiffs and BTL will jointly petition the Cou11 to set as ide from the Settlement

   Fund an Incenti ve Award in an amount to be paid from the Settlement Fund. Plaintiff Cin-Q and

   Plaintiff M&C shall each apply for an award of $ 10,000 fo r acting as Class Representatives. BTL

   further agrees to cooperate with Class Counsel to take all reasonable measures to convince the

   Court the forego ing Incenti ve Awards should be authorized by the Court under the unique

   circumstances of the Litigation in spite of any contrary indications in Johnson v. NPAS Sols. , LLC,

   975 F.3d 1244 ( I I th Cir. Sept. 17, 2020).     If the Court nevertheless does not authorize the

   foregoing Incentive Awards. the money set aside as an Incentive Award shall be paid pro rata to

   the persons who cashed their settlement check in this matter when the appe llate proceedings in the

   Johnson case have concluded, provided that no member of the Settlement Class shall be entitled

   to receive more than the amou nt specified in Section IY.B. Plaintiffs agree that once BTL has

   fund ed the Settlement Fund. BTL's obligations to Plaintiffs and the Settlement Class shall be fully

   satisfied and discharged. and Plainti ffs and rhe Settlement Class shall have no further or other

   claim against BTL. other than as set forth in this Settlement Agreement.

           C.      Any order or proceedings relating to the applications for the Attorneys' Fee Award

   and the Incenti ve Awards. or any appeal from any order relating thereto or reversal or modification



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   thereof. will not operate to terminate or cancel this Agreement or affect or delay the fina lity of

   Final Order and Judgment approv ing the Settlement Agreement and the Settlement. except that the

   Effective Date will 1101 occur until each and all    or the conditions spec ified   in Section XIII have

   occ urred.

                          VII.   SETTLEMENT CLASS NOTICE PROGRAM

           A.     The Parties agree the following Settlement Class Notice Program prov ides

   reasonable notice to the Settlement Class.

           B.     All Notice and Administration Costs shall be paid out of the Settlement Fund and

   subtracted from the amount to be paid into the Settlement Account.

          C.      Prior to the hearing on Preliminary Approva l, the Parties wil l submit an

   agreed-upon administrator 10 serve as the Settlement Adm in istrator and wi11 request that the Court

   appoint that Se11lcment Administrator. Once approved by the Court. the Settlement Administrator

   wi ll be an agent of the Court and will be subject to the Court's supervision and direction as

   circumstances may require. The Settlement Administrator will be responsible for administering:

                  (i)        The CA f-'A otice as required by statute:

                  (i i)      The Set1lemen1 Class Not ice Program as set fo rth below;

                  (iii)      The Settlement Website; and

                  (iv)       The claims' process set forth    111   Section VII I as well as any

          add itional processe jointly agreed to by Class Counsel and BTL Counse l and

          subject 10 the Court ·s supervision and direction as ci rcumstances may req uire.

          D.      Within ten ( I0) Days of the Preliminary Approval Date, the Parties shall provide to

   the Se11lemen1 Administrator records identifying the fax numbers to wh ich the facs imile

   adven iscments offeri ng 1icke1s for Tampa Bay Buccaneer games were allegedly sent.                The

   Se11lemcnt Administra1or will then use these records 10 determine the mailing addresses for as

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   many members of the Set1leme111 Class as poss ible. The Parties will work cooperatively with the

   Settlement Admin istrator to mutually agree upon the most practicable and reasonable methods

   under the circumstances by which the addresses of the members of the Settlement Class can be

   deri ved in an efficient and reasonable manner. The mailing addresses wi ll be updated with the

     ational Change of Address Database maintained by the United States Postal Service before

   mailing.

            E.    No later than 30 Days after the Prelim inary Approva l Date, the Settlement

   Adm inistrator shall create the Settlement Website with the name BTL-TCPA-Settlement.com, if

   available, or. if not. with a name to be mutual ly agreed between the Parties. The Sett lement

   Website shall provide in formation and relevant documents related to this ettlement, including but

   not limited to. the fo llowing: app licable deadlines; Mailed Notice; a downloadable Claim Form

   that may be submitted by U.S. Mail; FAQs and answers; orders of the Court pertaining to the

   Settlement: this Agreement: contact address for questions: and Plaintiffs' Motion for Attorneys'

   Fee Award and Incenti ve Awards. Class Counsel and the BTL Coun sel sha ll agree on all

   in formation and documents to be posted on the Settlement Website. The Claim Form shall be

   removed from the Settlement Website fi ve (5) Days after the Claim Deadline has passed. The

   Sertlement Website will be deactivated at a time agreed upon by the Parties.

            F.     o later than sixty (60) Days after the Preliminary Approva l Date. the Settlement

   Administrator will mail the Court-approved Mailed Notice (Exhibit 8 ) to all members of the

   Settlement Class whose addresses were derived as part of the process described in Paragraph D

   above.

            G.   The Parties agree that the Court wi ll decide whether either (or both) of the fo llowing

   two additional notice methods shall be undertaken. to the extent the identity and mailing address



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   of absent Class Members cannot be reasonably determined in a manner consistent with existing

   requirements for notice in the class context from the reverse-lookup process to be undertaken by

   the Sett lement Ad ministrator using records identi fy ing the fax numbers: ( 1) send notice to those

   absent class members fo r whom names and addresses were not obta ined at the fax numbers

   contained in the Biggerstaff fax number database: and/or (2) cause 10 be published a ·'Publication

   Notice" re ferring lo the Senlement Website in one-quarter page advertisements on two consecutive

   Sundays in the Tampa Bay T imes, the Sarasota Herald Tribune, and the Gainesv ille Sun.

          11.     Prior 10 the Fa irness Hearing. the Settlement Admi ni strator shall prov ide to the

   Court documentation renecting the fact that the Sen lemcn1 Class              ot ice Program has been

   executed in accordance with the Settlement Agreement and Preliminary Approval Order.

          I.      The Settlement Administrator, Class Counsel or any Person act ing on behalf of

   Class Counsel shal l not provide or publish any fo rm of notice other than the agreed-upon Class

    oticc without prior written approval of the content of any such notice by BTL Counsel.

                           VIII.   CLAIM S PROCESS AND PAYMENTS
                                   TO SETTLEMENT CLASS MEMBERS

          A.      Class Not ice shall be sent to all Seulement Class Members fo r whom the Settlement

   Adm in i trator is able to determinc a mai Iing address. as ,, cl I as s~nt by Fax       oticc and/or

   Publicat ion otict:. as the Court decides as part or the approva l process.

          B.      To file a Val id Claim, Settlement Class Members must:

                  ( i)      Complete a Claim Form , providing all of the in formation req uired

          by the Settlement Agreement and the Cla im Form:

                  ( ii)     Sign the Cla im Form under penalty of pe1jury: and

                  ( iii)    Return the completed and signed Claim Form to the Settlement

          Administrator on or before the Claim Deadline.


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   Only Sc11lement Class Members who subm it Valid Claims shall be entitled to an Award.

           C.        The Settlement Admin istrator shall be responsible for rev iewing all claims to

   determ ine their va lidity.

                       (i)       /\ny claim that is not substantially in compliance with the

                instructions on the Clai m Form or the terms of th is Settle111ent Agreement or

                is postmarked later than the Clai111 Deadline shall be rejected.

           D.         Following the Clai111 Deadline, the Settlement Admin istrator shall provide a report

   of rejected claims 10 BTL Counsel and Class Counsel. and the Se11lernen1 Administrator shall

   likewise provide a report of those c laims that have been accepted, wh ich list shal l include an

   indication of the proposed payment to each Settlement Class Me111ber who has submitted a valid

   clai111 . The decision of the Settlement Admini strator regarding whether a clai111 is valid is final

   and binding on the Parties. sub_ject to the provisions of Sect ion Ylll (E) as wel l as the right of the

   Parties and/or any absent Sett lement Class Member to appea l any such determination by the

   Settl ement Ad ministrator. In such event, the Parties agree to negotiate in good fai th a reso lution

   of any dispute regard ing a dec ision by the Sett lement Ad111inistrator. and only if the dispute cannot

   be resolved informally by the Parties. shal l the dispute be presented to and resolved by the Court.

           E.        BTL shall have the right to audit Claim Forms fo r va lidity and fraud . In the event

   BTL deter111ines that a Clai111 Form is invalid or fraudu lent and should be rejected, it shall bring

   that to the attention of Class Counsel. and the Parties shal l meet and confer and attempt. in good

   ra ith. to reso lve any dispute regarding the rejected claim. Following their 111eet and confer. the

   Parties will provide the Settlement Ad ministrator with their positions regarding the disputed claim.

   The Settle111ent Ad ministrator, after considering the positions of the Parties and, if appropriate,




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   seeking any addi tional information from the Settlement Class Member, will make an initial

   determination. subject to review by the Court.

          F.      At any time during the claims' process. if the Sett lement Admin istrator has a

   reasonable suspicion of fraud, the Settlement Administrator shall immediately notify both Class

   Counsel and BTL Counsel of that fact and the basis for its suspicion. Class Counsel and BTL

   Counsel shall endeavor to reach an agreed-upon solution to any suspected fraud and, if necessary,

   the Settlement Adm in istrator may suspend the clai ms process. and the Parries wil l then promptly

   seek assistance from the Court.

          G.      As soon as practicable after the Effective Date. the Settlement Adm inistrator shall

   ca use the Awards in the form of checks to be distri buted to members of the Settlement Class who

   have presented a valid claim. and shall rem it the Attorneys· Fee /\ward and Incentive Award as

   approved by the Court.

                         IX.    OBJECTIONS AND OPT-OUT RIGHTS

          A.      Any Settlement Class Member who intends to object must do so on or before the

   Opt-Out and Objection Date. In order to object. the Settlement Class Member must include in the

   objection submitted to the Court and served on Class Counse l and BTL Counse l the fo llowing:

                  (i)       The name, address, telephone number of the Person objecting and,

          if represented by counsel. of his/her coun sel. along with the telephone number or

          numbers at which the Settlement Class Member rece ived the all eged fax or faxes

          sent on BTL·s behalf:

                  (ii)      A signed dec laration stating that he or she is a member of the

           Settlement Class and in 2009 and/or 20 I0. received or was successfu lly sent

           one or more facs im il e advertisements se nt by or on behalf or BTL and relating

           to tickets for Tampa Bay Buccaneers games:

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                    (iii)    A statement of al I objections to the Settlement ; and

                    (iv)     A statement of whether he or she intends to appear at the Fairness

           Heari ng, either with or without counsel, and if with counse l, the name of his or her

          counsel who will attend. Any Settlement Class Member who fa ils to file and serve

          a timely written objection and notice of his or her intent to appear at the Fa irness

          Hearing pursuant to th is Paragraph and as detailed in the Class Notice shall not be

          permitted to object to the approval of the Settlement at the Fairness Hearing and

          shall be foreclosed from seeking any review of the Settlement or the terms of the

              ett lement Agreement by appea l or other means.

          B.        A member o f the Sett lement Class who wishes to opt out of the Settlement Class

   must complete and send to the Settl ement Ad min istrator a request for excl usion that is post-

   marked no later than the Opt-Out and Objection Date. The req uest for exclusion must be

   personally signed by the member of the Settlement Class requesting exclusion. contain a statement

   that indicates hi s or her desire to be excluded from the Sett lement Class and conta in a statement

   that he or she is otherwise a member of the Sett lement Class. A member of the Settlement Class

   may opt-out on an individual basis only. So-called "mass" or "class" opt-outs, whether fil ed by

   third parties on behalf of a "mass" or "class" of class members or multiple class members where

   no personal statement has been signed by each and every ind ividual class members. shall not be

   allowed.

          C.        Except fo r those members of the Settlement Class who timely and properly fi le a

   request for exclusion. all members of the Settlement Class will be deemed to be Settlement Class

   Members for all purposes under the Sett lement Agreement. and upon the Effective Date. will be

   bound by its terms. regardless of whether they file a Claim Form or receive any monetary relief.



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           D.        Any member of the Settlement Class who properly opts out of the Settlement Class

   shal l not: (i) be bound by any orders or judgments entered in the Litigation or relating to the

   Settlement; (ii) be entitled to relief under, or be affected by, the Settlement Agreement; (iii) gain

   any rights by virtue or the Settlement Agreement: or (iv) be ent itled to object to any aspect of the

   Settlement.

           E.        The Settlement Adm inistrator shall provide Class Counsel and BTL Counsel with

   the Opt-Out Li st within seven (7) Days after the Opt-Out and Objection Date.

                X.   PRELI MINARY APPROVAL PROCESS A~D CLASS                             OTICE

           After execut ion of this Settlement Agreement. Class Counsel shall promptly move the

   Court for a Preliminary Approval Order prelim inarily approving the Settlement and the Settlement

   Class otice Program. The Preliminary Approval Order wil l:

           A.        Preliminarily approve this Settlement Agreement.

           B.        Preliminarily cert ify the Settlement Class.

           C.        Fi nd that the proposed Settlement is sufficiently fai r, reasonab le and adequate to

   warrant prov iding notice to the Settlement Class, which notice will : (i) describe the essential terms

   of the Settlement : (ii) disclose any special benefits or incentives to the Class Representatives;

   (iii) provide in formation regard ing the Attorneys· Fee Award; (iv) indicate the time and place of

   the heari ng to consider fina l approval of the Sett lement, and the method for objection to and/or

   opting out of the Settlement; (v) explain the procedures for al locating and di stri buting the

   Settlement Fund: and (v i) prominently display the address of Class Counsel and the procedure for

   mak ing inqui ries.

           D.         chedule a Fairness Hearing on final approval of this Settlement and Settlement

   Agreement to consider the fa irness, reasonableness and adequacy of the proposed Settlement and

   whether it shoul d be final ly approved by the Court.

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           E.      Appoi nt the Settlement Administrator.

           F.      Approve the Class Notice, and direct the Settlement Adm ini strator to dissemi nate

   the Class    otice in accordance with the Settlement Class Notice Program. including the Court 's

   decision on whether to order Fax Notice and/or Publication        I   otice to those class members for

   whom a mailing address cannot be determined.

          G.       Find that the Settlement Class Notice Program: (i) is the best practicable notice; is

   reasonabl y ca lcu lated. under the circumstances. to apprise the Senlement Class of the pendency of

   the Liti gat ion and of the ir right to object 10 or to exclude themselves from the proposed settlement;

   (ii) is reasonable and constitutes due, adequate and sufficient notice to all Persons entitled to

   receive notice; and (iii) meets all requirements of applicab le law.

          H.       Require the Se11le111ent Ad ministrator 10 fi le proof o f compliance wit h the

    enlement Class otice Program at or before the Fairness I leari ng.

          I.      Approve the Claim Form and set a Claim Dead line.

          J.       Require any member of the Settlement Class who wishes to exclude himself or

   herself from the Settlement Class to submit an appropriate. timel y request for exclusion.

   postmarked no later than the Opt-Out and Objection Date, or as the Court may otherwise direct, to

   the Settlement Ad ministrator at the address on the Class Notice.

          K.      Order that any member of the Settlement Class who does not submit a timely,

   written request for exclusion from the Settlement Class (~. becomes an Opt-Out) wi ll be bound

   by all proceedings. orders and judgments in the Litigation. even if" such e11 lemen1 Class Member

   has previously initiated or subsequently initiates indi vidual litigation or other proceed ings

   encompassed by the Release.




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           L.     Require any Sett lement Class Member who does not become an Opt-Out and who

   wishes to object to the fairness, reasonableness or adequacy o r this Sett lement or Settlement

   Agreement to fi le with the Court and serve on Class Counsel and BTL Counsel no later than the

   Opt-Out and Objection Date, or as the court may otherwise direct, a statement of the objection

   signed by the Settlement Class Member containing al l of the following information:

                  (i)     The objector"s name. add ress. telephone num ber and. if represented

          by counsel. of his/her counsel;

                  (i i)   A declaration stating that he or she is a member of the Settlement

          Class and received or was successfully sent one or more unsol icited facs imile

          advertisements relati ng to tickets fo r Tampa Bay Buccaneer games:

                  (iii)   A statement of all objections to the Settlement ; and

                  (iv)    A statement of whether the objector intends to appear at the Fairness

          Hearing. either with or without counsel, and if with counsel. the name of counsel

          who will attend.

          M.      Order that any response to an objection shall be filed with the Court no later than

   seven (7) Days prior to the Fairness Hearing.

          N.      Spec ify that any Settlement Class Member who does not fi le a timely written

   objection to the Settlement or who fai ls to otherwise comply with applicable requirements shall be

   foreclosed from seeking any adjudication or rev iew of this cttlement by appea l or otherwise.

          0.      Require that any attorney, hired by a Settlement Class Member for the purpose of

   objecting to the proposed Settlement, the Attorneys' Fee Award or the Incentive Award and who

   intends to make an appearance at the Fa irness Hearing. sha lI provide to the Settlement

   Administrator (who shall forward it to Class Counsel and BTL Counsel) and file with the Clerk of



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   the Court a notice of intention to appear no later than the Opt-Out and Objection Date or as the

   Court may otherwise direct.

           P.      Req uire any Settlement Class Member who files and serves a written objection and

   who intends to make an appearance at the Fairness Hearing to so state in their objection papers or

   a the Court otherwise may direct.

           Q.      Direct the Settlement Administrator to establish a post office box in the name of

   the Set1lement Admi nistrator to be used for receiving requests for exclusion and any other

   comm unications. and providi ng that only the Settlement Administrator, Class Counsel. BTL

   Counsel. the Court. the Clerk of the Court and their designated agents sha ll have access to this post

   office box. except as otherwise prov ided in this Settlement /\greement.

           R.      Direct that Class Counsel shall file their applications for the Attorneys' Fee Award

   and Plaintiffs· Incentive Awards at least fourteen ( 14) Days prior to the Opt-Out and Objection

   Date.

           S.     Order the Settlement Admin istrator to prov ide the Opt-Out List to Class Counsel

   and BTL Counse l no later than seven (7) Days after the Opt-Out and Objection Date and then fi le

   with the Court the Opt-Out List with an affidavit attesting to the completeness and accuracy thereo f

   no later than five (5) Days thereafter or on such other date as the Part ies may direct.

           T.      Preliminarily enjoin al l members of the Scul cmcnt Class unless and until they have

   ti mely excluded themse lves from the Settlement Class from: (i) fil ing, commencing, prosecuting,

   intervening in or participat ing as plaintiff, claimant or class member in any other lawsu it or

   administrati ve. regulatory. arbitration or other proceed ing in any ju risdiction based on, relating to

   or arising out of the claims and causes of action or the facts and circumstances giving rise to the

   Litigation and/or the Released Claims; (ii) fi ling, commencing, participating in or prosecuting a



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   lawsuit or ad mini strati ve, regulatory. arbitration or other proceeding as a class action on behalf of

   any member o f the Settlement Class w ho has not timely excluded himselfor herself ( including by

   seek ing 10 amend a pending compla int to include class allegations or seek ing class certi fication in

   a pending action). based on. relat ing to or ari sing out of the claims and causes of action or the facts

   and circumstances givi ng ri se to the L itigation and/or the Released C laims; and (iii) attempting to

   effect Opt-Outs o f a class of individuals in any lawsuit or administrative, regulatory, arbitration or

   other proceeding based on. relating to or ari sing out of the claims and causes of action or the facts

   and circumstances giving rise to the Lit igation and/or the Re leased C lai ms.       Any Person who

   knowingly v io lates such injunction shal l pay the attorneys· fees and costs incurred by BTL. any

   other Released Person and Class Counse l as a result of the violation. This Settlement Agreement

   is not intended to prevent members of the Settlement Class from participating in any action or

   investigation initiated by a state or federal agency.

            U.        Contain any addit ional provisions agreeable to the Parties that might be necessary

   or advisable to implement the terms of this Settlement Agreement and the proposed settlement.

                       XI.    FINAL ORDER AND JUDGMENT AND RELEASES

            A.        I f thi s SettlemenL Agreement ( including any mod ification thereto made with the

   consent o r the Parties as provided fo r herein) is approved by the Court fo l lowi ng the Fai rness

   Hearing scheduled by the Court in its Preliminary A pproval Order, the Parties shall request the

   Court   10   enter a Fi nal Order and Judgment pursuant to the Federa l Rules of Civ il Procedure and

   all appl icable laws that, among other thin gs:

                     (i)     Finds that the Court has personal jurisdiction over Plaintiffs and all

            Seulement C lass Members and that the Court has subject matter jurisdiction to

            approve this Settlement and Settlement Agreement and all exhibits thereto;




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                 (ii)    Certifies a Settlement Class solely for purposes of this

         Senlement:

                 (iii)   Grants final approval to this Settlement Agreement as being fa ir.

         reasonable and adequate as to all Parties and consistent and in compliance with all

         requ irements of due process and applicable law, as to and in the best interests of all

         Parties and directs the Parties and their counsel to im plement and consummate this

          ettlement Agreement in accordance with its terms and prov isions:

                 (iv)    Declares this Settlement Agreement and the Final Order and

         Judgment to be binding on and have res judicata and preclusive effect in all pend ing

        and future lawsu its or other proceedings encompassed by the Release maintai ned

         by or on behalf o f Plain tiffs and all Senlement Class Members. as well as their

        respecti ve present. forme r and ruture administrators, agents. assigns, attorneys.

        executors, hei rs, partners, predecessors-in-interest and successors;

                 (v)     Finds that the Settlement Class Notice Program: (1) constituted the

        best practicable notice: (2) constituted notice that was reasonably ca lculated under

        the circumstances to apprise the Settlement Class or the pcndency of the Litigation.

        of their right to object to or exclude themselves from the proposed Settlement, of

        their right to appear at the Fairness Hearing and of their right to seek monetary and

        other relier: (3) constituted reasonable. due. adequate and sufficient notice to all

        Persons entit led to receive notice: and (4) met all requi rements of due process and

        any other appl icable law;

                 (vi)    Approves the Claim Form that was distributed to the Settlement

        Class:



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                (vii)     Finds that Class Counsel and Plai ntiffs adequately represented the

         Settlement Class for purposes of entering into and implementing the Sett lement and

         Settlement Agreement;

                (vi ii)   Dismisses the Litigation now pending before the Court on the

         merits and with prejudice and without fees or costs except as provided herein.

         in accorda nce with the terms o r the Final Order and .Judgment:

                (ix)      Adj udges that Plaintiffs and the Settlement Class have conclusively

         compromised, settled, dismissed and released any and all Released Claims against

         BTL and the Released Persons:

                (x)       Approves payment of the Attorneys' Fee Award and Incenti ve

        J\ wards as determ ined by the Cou rt ;

                (xi)      Without affecting the finality of the Final Order and Judgment for

        purposes of appeal. reserves j urisd iction over the Settlement Administrator, BTL,

         Plai nti ffs and the Sett lement Class Members as to all matters relating to the

        administration. consummation. enforcemen t and interpretat ion of the terms of the

        Settlement, the Settlement Agreement and Final Order and Judgment and for any

        other necessary purposes:

                (x ii )   Provides that upon the Effective Date. Plaintiffs and all Se11lemen1

        Class Members. whether or not they return a Clai m Form within the time and in the

        manner provided for, shall be barred from asserti ng any Released Claims against

        BTL and/or any Released Persons, and any such Settlement Class Members shall

        have released any and all Released Claims as against BTL and al l Released Persons:




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                 (xii i)   Determines that the Sett lement Agreemen t and the Settlement

         provided for therein and any proceed ings taken pursuant thereto are not and should

         not in any event be offered or received as evidence of, a presumption, concession

         or an admission o f liability or o f any misrepresentation or omission in any statement

         or wriu en document approved or made by BTL or any Released Persons or of the

         suitabi lity of these or similar claims to class treatment in active litigation and trial ;

         prov ided, however, that referen ce may be made to this Settlement Agreement and

         the Settlement provided for therein in such proceedings solely as may be necessary

         to effectuate the Scll lement Agreemen t:

                 (x iv)    Bars and permanently enjoins all Settlement Class Members from:

        ( I ) fi ling, commencing, prosecuting, intervening in or participating (as class

        members or otherwise) in any other lawsuit or administrative, regu latory.

        arbitration or other proceed ing in any jurisd iction based on. relating to or ari sing

        out of the claims and causes of acti on or the facts and circumstances giv ing ri se to

        the Liti gation and/or the Released Claims; and (2) organizing Settlement Class

        M embers who have not excluded themse lves from the Settlement Class into a

        separate class for purposes or pursuing as a purported class action any lawsuit or

        arbitration or other proceed ing (including by seekin g to amend a pendi ng complaint

        to include class allegations or seek ing class certi fication in a pending action) based

        on, relatin g to or ari sing out o f the claim s and causes of action or the facts and

        circumstances g iv ing ri se to the Litigation and/or the Released Clai ms. except that

        Settl ement Clas Members are not precluded from participating in any investigation

        or suit initiated by a state or federa l agency;




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                  (xv)     States that any Person who knowingly violates such inj unction shall

          pay the attorneys' fees and costs incurred by BTL and/or any other Released

          Persons and Class Counsel as a result of the violation;

                  (xv i)   Approves the Opt-Out Li st and determines that the Opt-Out List is

          a complete list of all members of the Settlement Class who have timely requested

          exclusion from the Settlement Class and, accord ingly, shall neither share in nor be

          bound by the Final Order and Judgment, except for Opt-Outs who subsequently

          elect to submit Claim Forms during the Claim Period: and

                  (xvii) Authorizes the Parties, without further approval from the Court, to

          agree to and adopt such amendments, modifications and expansions of this

          Settlement Agreement and all exhibits hereto as ( 1) sha ll be consistent in al l

          material respects with the Final Order and Judgment: and (2) do not limit the rights

          or the Parties or Settlement Class Members

          B.      As of the Effective Date, the Releasing Persons are deemed to have fu lly released

   and forever discharged the Re leased Persons of and from all Released Claims by operation of entry

   of the Final Order and Judgment.

                  (i)      Subject 10 Court approval. all Settlement Class Members who have

          not excluded themsel ves from the Settlement Class sha ll be bound by this

          Settlement Agreement and the Release and all of their claims shall be dismissed

          with prejudice and released. irrespective of whether they received actua l notice of

          the Litigat ion or thi s Sett lement.

                  (ii)     Without in any way lim iting the scope of the Release, this Release

          covers any and all claims for attorneys' fees, costs or disbursements incurred by



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         Class Counsel or any other counsel representing Plaintiffs or Settlement Class

         Members, or any of them, in connection with or related in any manner to the

         Litigation. the Settlement. the admin istration or such Settlement and/or the

         Released Claims as we ll as any and all claims for the Incentive Award to Plai ntiffs

         and the Attorneys' Fee Award to Class Counsel.

                 (i ii)   The Releasing Persons and the Released Persons express ly

         acknowledge that they are fami liar with principles of law such as Section 1542 of

         the Civi l Code of the State of Ca li forn ia. which provides:

        A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
        CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT
        TO EX IST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
        RELEASE A D THAT, IF KNOWN BY HIM OR HER, WOULD HA VE
        MATER IALLY AFFECTED HIS OR HER SETTLEME T WITH THE
        DEBTOR OR REL EASED PARTY.

          otwithstanding Ca li fornia or other law, the Releas ing Persons and the Released

         Persons hereby expressly agree that the prov isions, ri ghts and benefits of Section

         1542 and all sim ilar federal or state laws. rights. rules or legal principles of any

        other jurisdiction that ma~ be app licable herein are hereby knowingly and

        vo luntarily waived, released and relinquished to the fullest extent permitted by law

        solely in connection with unknown claims that are the same as, substantially similar

        to. or overlap the Released Cla ims. and the Re leasing Persons and the Released

        Persons he reby agree and acknow ledge that this is an essential term of the Releases.

        In connection with the Release. the Releasing Persons and the Released Persons

        acknowledge that they are aware that they may hereafter discover claims presently

        unknown and unsuspected or facts in addition to or different from those which they

        nO\\ know or believe     10   be true with respect   10   mailers released herein. and that


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           such claims, to the extent that they are the same as, substantia lly simi lar to, or

           overlap the Released Claims. are hereby released. re linquished and discharged.

                  (iv)        Nothing in the Releases shall preclude any action to enforce the

           terms of this Settlement Agreement, including participation in any of the processes

           detailed herein.

          XI I.   WITHDRAWA L FRO 1 OR TERM INATION OF SETTLEME T

           A.     Within fifteen (15) Days after the occurrence of any of the fo llowing events and

   upon written notice to counsel fo r all Parties, a Party shall have the right to withdraw from the

   Settlement and terminate th is Settlement Agreement:

                  (i)      If the Co urt dec lines to approve the Sett lement Ag ree ment as

           written without material modification or if on appeal the Court" s approval is

           reversed or mod ified through material mod ification of the Settlement

           Agreement:

                  (ii)     If the Court materi ally alters any of the terms of the Settlement

          Agreement. except that a red uction in the Attorneys' Fee Award or the Incentive

          Awards shall not be deemed to be a material alteration; or

                  (ii i)   If the Preliminary Approval Order or the Final Order and Judgment

          1s not entered by the Court without material modificat ion of the Settlement

          Agreement or is reversed or modi fi ed on appeal. or otherwise fai ls for any reason.

           B.      In the event of a withdrawal pursuant to Paragraph A above, any certification of a

   Settlement Class will be vacated, without prej udice to any Party's position on the issue of class

   certification and the amenability of the claims asserted in the Litigation to class treatment. and the

   Parties shall be restored to their litigation position existing immed iately before the execution of

   this Sett lement Agreement.

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          C.      Ir members or the Senlement Class properly and timely submit requests for

   exc lus ion from the Settlement Class thereby becoming Ope-Outs in a number exceeding the

   number submitted to the Court under seal by the Parties, then BTL may elect in its sole

   discretion co withdraw from the Settl ement and terminate this Settlement Agreement. In that

   eve nt. all of BTL ·s obligations under this Agreement shall cease co be of any fo rce and effect:

   the certi lication o r the ettlem ent Class shall be vacated without prej udice to BTL 's positi on

   o n the issue of class certificati on; and BTL shall be restored to its li tigation position existing

   immediate ly before the executio n o f this Settlement Agreement.

                  (i)     In order to elect to ,,·ichdra,,· from the Settlement and terminate

          th is Se11 lement Agreement on the basis se t forth above. BTL must notify Class

          Counse l in w riting of its e lection to do so within fourteen ( 14) Days after the

          Opt-Out List has been served o n the Parties.

                  (ii )   In the event that BTL exe rci ses ·uch rig ht. Class Counse l shal l

          have. at thei r discretion. fou rteen ( 14) Days o r such longer peri od as agreed to

          by the Parties to address the concerns of the Opt-Outs. If thro ugh such efforts

          the total number o n the Opt-Out List subsequently becomes and remains fewer

          than the number submitted to the Court under sea l at the time of filing the

          Motion For Preliminary Approval, BTL shall withd raw its electi o n to withdraw

          fro m the Settlement and terminate the Settlement Agreement. In no event,

          however. shall BTL have any further obligati on under this Agreement to any

          Opt-Out unl ess he o r she withd raws his or her req uest fo r exclusion.

                  (iii)   Fo r purposes o f this Paragraph. Opt-Outs s hall not inc lude:

          ( I) Persons who are specificall y excluded from the Settlement Class defi nition;



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           (2) Opt-Outs who elect to withdraw their request for exc lusion; and (3) Opt-

           Outs who agree to sign an undertak ing that they wi ll not pursue an indivi dual

           claim. class claim or any other claim that would otherwise be a Released C laim

           as defined in this Settlement Agreement.

           D.      In the event o f withdrawal by any Party in accordance with the terms set fo rth

   in this Section, the Settlement Agreement shall be null and void, shall have no further force

   and effect with respect to any Party in the Litigation and shall not be offered in evidence or

   used in any litigation fo r any purpose. including the ex istence, certificati on or maintenance of

   any proposed or existi ng class or the amenabi lity of these or similar claims to class treatment. In

   the event of such withdrawal , thi s Settlement Agreement and all negotiations, proceedings,

   documents prepared and statements made in connection herewith shal I be wi thout prejud ice to

   BTL. Plaintiffs and the Sett lement Class Members and shall not be deemed or construed to be an

   admission or con fess ion in any way by any Party of any fact. matter or proposition of law and shalI

   not be used in any manner for any purpose, and the Parties to the Litigation shall stand in the same

   pos iti on as if th is Settlement Agreement had not been negotiated, made or ti led with the Court.

                                    XIII.     EFFECTI VE DATE

          A.      The Effective Date or thi s Sett lement Agreement shall be the date when each and

   all of the fo llowing cond itions have occurred:

                  (i)     This Sett lement Agreement has been fu lly executed by al l Parties

          and their counsel:

                  ( ii)   Orders ha ve been entered by the Court certify ing the Settlement

          Class, granting preliminary approva l of this Settlement and approv ing the forms of

          Class Notice and Clai m Form, all as provided above;




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                  (iii)    The Settlement Class Notice Program has been executed m

          accordance with the Prelim inary Approval Order;

                  (iv)     The Court has entered a Final Order and Judgment fina lly approv ing

          this Agreement, as provided above: and

                 (v)       The Final Order and Judgment has become Final as de fined m

          Paragraph B be low.

          8.     "Fina1.·· when re ferring to a judgment or order means that (i) the judgment is a

   final. appea lable judgment: and (ii) either ( I) no appeal has been taken from the judgment as o f

   the date on which all deadli nes to appeal there from have expi red; or (2) an appeal or other

   review proceedi ng of the judgment having been commenced, Lhe date by wh ich such appeal

   or other rev iew is tina ll y concluded and no longer is subj ect to review by any court, whether

   by appeal. petitions or rehearing or re-argument. peti tions fo r rehearing en bane. petitions for

   writ of certiorari. or otherwise, and such appeal or other review has been fina lly resolved in a

   manner that affirms the Final Order and Judgment in all materi al respects.

          C.      If. fo r any reason. thi s Settlement Agreement fai ls to become Final pursuant to

   the forego ing Paragraph B. the orders. judgment and di smissa l to be ente red pursuant to this

   Settlement Agreement shall be vacated, and the Parties will be returned to the status quo ante

   with respect to the Litigation as if this Settlement Agreement had never been entered into.

                                          XIV.    NOTI CES

          A.     All      oticcs (other than the Class Notice and C/\FA Noti ces) required by the

   Settlement Agreement sha ll be made in writing and communicated by mail to the fo llowing

   addresses:




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                    Al l Notices to the Settlement Class or Class Counsel shall be sent to

             Class Counse l. c/o:

              Michael C. Addison                         Ross M. Good
              ADD ISON LAW OFFICE, P.A.                  Glenn L. Hara
              1304 Alicia Avenue                         Brian J. Wanca
              Tampa, Florida 33604                       ANDERSON + WANCA
              Telephone: (8 13) 223-2000                 3701 Algonquin Road, Suite 500
              Facsim ile: (81 3) 228-6000                Ro lling Meadows, Illinois 60008
                                                         Telephone: (855) 827-2329
                                                         Facsimile: (847) 368-1501

                    All   otices to BTL or BTL Counsel prov ided herei n shall be sent to

             BTL Counse l, c/o:

                                      Mark S. Mester
                                      Robert C. Co lli ns 111
                                      Latham & Watkins LLP
                                      330 North Wabash Avenue, Su ite 2800
                                      Chicago. Illi nois 6061 1
                                      Telephone: (312) 876-7700
                                      Facsimile: (3 12) 993-9767

             B.     The notice recipients and addresses designated above may be changed by written

   notice.

             C.     Upon the request of any of the Parties. the Parties agree to promptly provide

   each other with copies of com ments, obj ections, requests for excl usion, or other documents

   or fi lings received as a result of the Class Notice.

                             XV.     M ISCELLANEOUS PROVISIONS

             A.     Interpretation. This Sett lement Agreement contains the entire agreement among

   the Parties hereto and supersedes any prior discussions, agreements or understandings among them

   as well as any and all prior drafts of this Settlement Agreement. All terms are contractual. For the

   purpose or construing or interpret ing this Settlement Agreement. the Parties agree that the

   Settlement Agreement is to be deemed to have been drafted equally by all Parties hereto and shall



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   not be construed strictly for or agai nst any Party. and the Parties fu rther agree that any prior drafts

   may not be used to construe or interpret this Settlement Agreement.

           B.     Binding Effect. The terms are and shall be binding upon each of the Parties hereto,

   their admi nistrators. agents, ass igns. attorneys. executors, heirs, partners, re presentatives,

   predecessors-in-interest and succc sors as well as upon all other Persons claimi ng any interest in

   the subject matter hereto through any of the Parties hereto including any Settlement Class

   Members.

          C.      Headings. The head ings contained in this Sett lement Agreement are fo r reference

   purposes only and shall not aflect in any way the meani ng or interpretation of th is Settlement

   Agreement.

          D.      No Rescission on Grounds of Mistake. The Parties acknowledge that they have

   made their own invest igations of the matters covered by this Settlement Agreement to the extent

   they have deemed it necessary to do so. Therefore. the Parties agree that they will not seek to set

   aside any part of the Settlement Agreement on the grounds of mistake. Moreover, the Parties

   understand, agree and expressly assume the risk that any fact not recited, contained, or embodied

   in the Settlement Agreement may turn out herei nafter to be other than, di ffe rent from. or contrary

   to the facts now known to them or believed by them to be true. and further agree that the Sett lement

   Agreement shall be effect ive in all respects notwithstand ing and shall not be subj ect to

   termination. modi fi cation. or rescission by reason of any such difference in facts.

          E.      Amendment. This Settlement Agreement may be amended or modi fied only by a

   written instrument signed by the Part ies or their counsel. Amendments and modificat ions may be

   made without notice to the e111l:ment Class unless notice i req uired by law or by the Court.




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          F        Integration Of Ex hibits. Any exhibits to this Settlement Agreement are hereby

   incorporated and made a part of the Settlement Agreement.

          G.       Jurisdiction . The United States District Court fo r the M iddle Distri ct of Florida

   has juri ·dicti on over the Pani es to thi s Scttlement Agree ment and the Settleme nt Class.

          H.       No Admission. Neither this Settlement Agreement nor any of its provisions, its

   exhibits or related documents (including but not limited to drafts of the Settlement Agreement, the

   Prelim inary Approva l Order or the Final Order and Judgment). its negotiation or any proceedings

   relating in any way to the Settlement shall be construed as or deemed to be evidence of an

   adm ission or concession by any person, including BTL, and shall not be offered or received in

   ev idence, or subject to discovery, in this or any other action or proceeding except in an action

   brought to enforce its terms or except as may be required by law or Court order. The provisions

   of this Paragraph shall become effective when this Settlement Agreement has been signed by the

   Parties and shall be binding on the Part ies and their counsel regardless of whether the Settlement

   Agreement is approved by this Court or any other court and regardless of whether the Settlement

   Agreement is otherwise rendered null and void .

          I.       Governin g Law. This Settlement Agreement shall be governed by and construed

   in accordance with the internal laws (as opposed to the confl icts of law provisions) of the State of

   Florida.

          J.       Counterparts. This Settlement Agreement may be executed in counterparts and

   may be executed by facsimile. and as so executed shall constitute one agreement.

              K.   No Med ia Statements. BTL. BTL Counse l. Plaintiffs. Class Counsel and all other

   counsel of record for Plaintiffs agree not to issue any press releases regarding this settlement or

   publicize it in any way and further agree not to engage in any communications with the med ia or



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   the press, on the internet, or in any public forum , orally or in writing, that relate to this Settlement

   or the Litigation other than statements that are fu Ily consistent with the Mai led Notice.

     otwithstanding the fo regoing. nothing in thi s Sc11lemcnt J\greemcnt hall preclude a Party from

   making a public statement in support of the Selllement. For example, Plainti ffs or Class Counsel

   may slate that the Settlement is a good result for the Class. In addition. nothing in this Settlement

   Agreement shall preclude Plai ntiffs or Class Counsel from maki ng a public statement that is

   consistent with the language of the ett lement Agreement or any motions submitted for approval

   of the Se11 lement.

           L.      Confidentiality. All agreements made and orders entered during the course of the

   Litigation relating lo the confidentiality of in formation shall survive thi s Settlement Agreement.

           M.      Return O f Material. Within th irty (30) Days after the Effective Date. Class

   Counse l and BTL Counse l will return all material prod uced by one to the other in discovery

   or otherwise in connection with the Litigation.

           N.      No Assignment. Plaintiffs represent and warrant that no portion of any claim,

   ri ght. demand. action. or cause of action aga inst the Rcleased Persons that Pl ainti ffs have or

   may have aris ing out of any allegations made in any o r the acti ons comprising the Liti gation

   or pertaining to any of the Released Clai ms, and no portion of any recovery or settlement to

   which Plaintiffs may be entitled, has been assigned . trans ferred. or conveyed by or fo r

   Plaintif~ in any manne r: and no Person other than Pla inti ffs have any lega l or equitable

   interest in the claims. demands. acti ons, or causes of action referred to in this Agreement as

   those of Pla intiffs.

          0.       Stay. The Parties stipulate to stay all proceedings in the Litigation until the

   approva l of this Settlement Agreement has been finally determined. except the stay of proceedings



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      shal'. not prevent the filing o r any motions. amdavits and other maners necessary to obtain and

      preserve fi na l judicial approval o f 1h is Sett lement Agreement.

              P.      Best Efforts. In the event that there are any developments in the effectuation and

      admin istration of this Agreement that are not dealt with by the terms of this Agreement, then such

      maners shall be dealt with as agreed upon by the Parties. and fai ling agreement. as shall be ordered

      by the Court. The Parties sh<1 II cxernle al l Llocu111en1s and use their best efforts to perform all acts

      necessary and proper to prom ptly effectuate the terms of this Agreement and to take all necessary

      or appropriate actions to obtain j udicial approval of this Agreement in order to give this Agreement

      full force and effect. The execution of documents must take place prior to the date scheduled for

      the Preliminary Approval Hea ring.

              IN WITNESS WHERr-.or-, the Parties have executed and caused this Agreeme nt to be

      executed by their du ly authorized representati ves below.

       Plai111iffs:                                        Cin-Q Automobiles, Inc .
                                                                         /,7
                                                              By:   '-   _.,   <
                                                           1'vk dical & Chiropractic Clinic, Inc.


                                                              By: _ _ _ _ _ __ _ _ _ _ _


       Approved as ro form:


                                                                  ichacl C. Addison
                                                                Addison Law Omce, P.A.
                                                                1304 Alicia Avenue
                                                                Tampa, Florida 33604
                                                                Telephone: (& 13) 223-2000
                                                                Facsimile: (& 13) 228-6000




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     shat! nor prc\en1 rhc filing of any motions, affidavi1s and other marrers necessary to obtain and

    p:csavt' .i:ial judicial .ipproval 111" this ~cnlcment Agreement.

            i'      ucs1 Effo rts. In th.:   C\cnt   that there ilfC ar.y li.:n:lormwnts 111 ihe effectuation and

    ac:nini:>::.:t!un of this Agrc::emcn1 that are not dealt with by the terms of this Agreement., then such

    maltcrs shal: be dcalr with as agn:ed upon by the Parries, and failing agreement, as shall be ordered

   by t:1e C':iu:-L The Parties shall execute all documents and use their best efforts to perform all acts

   ntct:s,ar~ ar.d proper to rromprly c ffot:luatc the terms of !his Agreement and to take all necessary

   or appropria:c :i~·uons to obtain jucfa.:iul approval oflhis Agrcc111crit in ordc::r ro give this Agreement

   !!!II force and effect. The ei--ecution of documents musr rake place prior to the date scheduled for

   the Preliminary Approval Hearing.


          !~; WITNESS WHERl-:OF. !ht: Parties have: executed and caused this Agreement lo be

  necurd b:, 1L1.:ir dul:,, autlloriid r.:prescntatives belo1\ .

   Plaintiffs:                                              Cin-Q Automobiles, Inc.


                                                            By:
                                                                  -------------
                                                            Meoical & Chiropractic C linic, Inc.




  Appra1•ed us to form:
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                                                              Add ison Law Office, P.A.
                                                              1304 A licia Avenue
                                                              Tampa, Florida 33604
                                                              Telephone: (813) 223-2000
                                                              Facsimile: (8 I 3) 228-6000




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Case 8:13-cv-01592-AEP Document 324-1 Filed 08/27/21 Page 43 of 54 PageID 9428




                                           :;D~~~
                                             ~                rianJ. Wanca
                                             ANDERSON+ WANCA
                                             3701 Algonquin Road, Suite 500
                                             Rolling Meadows, Illinois 60008
                                             Telephone: (855) 827-2329
                                             Facsimile: (847) 368-150 I


      Defendant:                           BUCCANEERS TEAM LLC

                                           By: _ _ _ _ _ _ _ _ _ _ _ __

                                           Its: _ _ _ _ _ _ _ _ _ _ _ __


     Approved as to form:                  LATHAM & WATKINS LLP
                                           By:_ _ _ _ _ _ _ _ _ _ _ __
                                             Mark S. Mester
                                             Robert C. Collins Ill
                                             Latham & Watkins LLP
                                             330 North Wabash Avenue, Suite 2800
                                             Chicago, Illinois 60611
                                            Telephone: (312) 876-7700
                                            Facsimile: (312) 993-9767




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      Approved a~ to form:                     A r II \ \ I & \\ A I K I '\ ~ LL P

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                                                             (3 12) 993-976 7




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Case 8:13-cv-01592-AEP Document 324-1 Filed 08/27/21 Page 45 of 54 PageID 9430




                                       ANDERSON + WANCA

                                       By:
                                          Ross M. Good
                                          ANDERSON + WANCA
                                          3701 Algonquin Road, Suite 500
                                          Rolling Meadows, Illinois 60008
                                          Telephone: (855) 827-2329
                                          Facsimile: (847) 368-1501


 Defendant:                            BUCCANEERS TEAM LLC


                                       By:

                                       Its:


 Approved as to form:                  LATHAM & WATKINS LLP

                                       By:
                                          Mark S. Mester
                                          Robert C. Collins III
                                          Latham & Watkins LLP
                                          330 North Wabash Avenue, Suite 2800
                                          Chicago, Illinois 60611
                                          Telephone: (312) 876-7700
                                          Facsimile: (312) 993-9767




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        EXHIBIT A
      Case 8:13-cv-01592-AEP Document 324-1 Filed 08/27/21 Page 47 of 54 PageID 9432
                                               PROOF OF CLAIM
                     Cin-Q Automobiles, Inc., et al. v Buccaneers Limited Partnership
                                  Case No. 8:13-cv-01592 (M.D. Fla.)
                                   Please Read This Entire Form Carefully
                          You Must Submit Your Signed Claim By [________, 2021].
                       If You Do Not Submit A Claim Form By [________, 2021], You
                       Will Not Receive The Benefits Described In The Class Notice.

You Must Complete All Three Steps to Claim a Share of the Settlement Fund.
Step 1. PROVIDE YOUR CONTACT INFORMATION.
   Name:
   Company (if applicable):
   Address:
   City/State/Zip Code:
   Phone Number and/or Email:
   Fax Number(s):
List all numbers at which you or your company received faxes between July 14, 2009, and June 9, 2010. Attach
a separate sheet if necessary. The Settlement Administrator will verify that the fax number(s) you provide
appear(s) in the existing records related to the case before approving your claim. The parties also have the right
to audit this claim form, verify your statements, and dispute any claims.
Step 2. VERIFY OWNERSHIP OF THE FAX NUMBER(S) LISTED ABOVE AND RECEIPT OF A FAX OR
        FAXES.
Between July 14, 2009 and June 9, 2010, I or my company subscribed to the fax number(s) identified above or
attached to this Proof of Claim and faxes were received at such number or numbers, including faxes from the
Tampa Bay Buccaneers.
                      I certify under penalty of perjury that the foregoing is true and correct.


                                                     (Sign your name here)
Step 3. RETURN THIS CLAIM FORM BY ______________, 2021.
         a. Fax this Claim Form to: [fax number for claims]; OR
         b. Mail this Claim Form to: [claims administrator address]; OR
         c. Submit this claim form electronically at [website]
If the Settlement is granted Final Approval and your claim is accepted, you will be mailed a check representing
your share of the Settlement Fund, subject to the verification process noted above. This process takes time so
please be patient. Please keep a copy of your completed claim form for your records and ensure that you keep
your current address on file with the Settlement Administrator.
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        EXHIBIT B
      Case 8:13-cv-01592-AEP Document 324-1 Filed 08/27/21 Page 49 of 54 PageID 9434
                       This is a notice of a lawsuit settlement, not a lawsuit against you.
                                     UNITED STATES DISTRICT COURT
                                   FOR THE MIDDLE DISTRICT OF FLORIDA
                                             TAMPA DIVISION
          CIN-Q AUTOMOBILES, INC., et al.,                     )
                                                               )
                                             Plaintiffs,       )
                                                               )       No. 8:13-cv-01592-AEP
                  v.                                           )
                                                               )           Magistrate Judge
          BUCCANEERS LIMITED PARTNERSHIP                       )          Anthony E. Porcelli
          And JOHN DOES 1-10,                                  )
                                Defendants.                    )
                NOTICE OF CLASS ACTION SETTLEMENT WITH ATTACHED CLAIM FORM
TO: All persons who received or were successfully sent in 2009 or 2010 one or more facsimile
    advertisements relating to tickets for Tampa Bay Buccaneers games (the “Settlement
    Class”).
The Court ordered us to send you this Notice, because your fax number is contained on a list of fax numbers to
which advertisements may have been sent by fax and you may be a member of the Settlement Class
(“Settlement Class Member”) defined above.
A. WHAT IS THIS LAWSUIT ABOUT? Plaintiffs filed this class action lawsuit (the “Litigation”) against
Buccaneers Limited Partnership, now known as Buccaneers Team LLC (“BTL” or “Defendant”) alleging that it
violated the federal Telephone Consumer Protection Act (“TCPA”) by allegedly sending unsolicited
advertisements by fax. Defendant denies each and every allegation of wrongdoing, liability and damages that
were or could have been asserted in the Litigation and further denies that the claims would be appropriate for
class treatment if the Litigation were to proceed through trial. The parties have agreed to settle all claims about
343,122 advertising faxes allegedly sent by or on behalf of BTL from July 14, 2009 to June 9, 2010. This notice
informs you of your rights regarding this settlement as a potential member of the Settlement Class.
B. WHY IS THERE A SETTLEMENT? The Court has not decided in favor of Plaintiffs or BTL. Instead, both
sides have agreed to a settlement. By agreeing to the Settlement, the parties avoid the costs and uncertainty of
a trial, and if the Settlement is approved by the Court, Settlement Class Members will receive the benefits
described in this notice. The proposed Settlement does not mean that any law was broken or that BTL did
anything wrong. BTL denies all legal claims in this case. Plaintiffs and their lawyers think the proposed Settlement
is best for everyone who is affected.
C. WHAT IS THE PROPOSED SETTLEMENT? The Court has certified the Settlement Class defined above
and preliminarily approved a settlement, subject to a final approval hearing that will occur on [MM DD,] 2021, at
[HH:MM a.m./p.m.], in [Courtroom ###], United States District Court, Middle District of Florida, 801 North Florida
Avenue, Tampa, Florida 33602. BTL has agreed to create a settlement fund of $19,750,000.00 (“Settlement
Fund”) to settle this case. If the Court approves the settlement at the final approval hearing, each valid claim will
be paid up to (1) $350.00 for the first fax; $125.00 for the second fax; $90.00 for the third fax; $25.00 for the
fourth fax; and $25.00 for the fifth fax. You do not need to state on the claim form how many faxes you received
from BTL in 2009-2010. You will be paid according to the electronic records obtained in this case. In the event
the Settlement Fund is exhausted, these amounts are subject to reduction.
D. WHO REPRESENTS THE SETTLEMENT CLASS IN THIS LITIGATION? The Court appointed Plaintiffs
Cin-Q Automobiles, Inc. and Medical & Chiropractic Clinic, Inc. as the class representatives, and appointed the
following attorneys as Class Counsel:




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             Michael C. Addison                       Ross M. Good
             Addison Law Office, P.A.                 Glenn L. Hara
             1304 Alicia Avenue                       Brian J. Wanca
             Tampa, FL 33604                          Anderson + Wanca
                                                      3701 Algonquin Road, Suite 500
                                                      Rolling Meadows, IL 60008
They have litigated on behalf of the Settlement Class against BTL on a contingency basis. As part of the
settlement, Class Counsel will request that the Court award each Plaintiff an incentive award of $10,000.00 for
serving as class representatives and ask the Court to award attorney’s fees to Class Counsel equal to 25% of
the settlement fund for their legal services, plus their reasonable out-of-pocket litigation expenses, also to be
paid out of the Settlement Fund. You can read Plaintiffs’ Motion for Attorney Fees and Incentive Award on the
Settlement website. You will not have to pay any money to Class Counsel. You may retain your own counsel to
represent you at your own expense. The Court will ultimately decide the amount of fees and expenses to award.
E.   WHAT ARE YOUR FOUR OPTIONS?
     1. Submit a Proof of Claim (attached) to receive a check: You must submit a completed Claim Form
     (see form at end of this notice) to the Settlement Administrator signed subject to penalty of perjury via U.S.
     mail. Claim Forms may also be obtained on the Settlement Website, [SettlementWebsite.com]. The claim
     form must be submitted to the Settlement Administrator on or before _____________, 2021. If mailed, the
     envelope must be postmarked on or before [MM DD], 2021. If you do not submit a claim form you will not
     be eligible to participate in the economic recovery under this settlement. If you submit a timely and valid
     claim form you will be mailed a settlement check after the Court enters a Final Order and Judgment granting
     approval of the Settlement and after any appeals are resolved. If there are appeals, resolving them can
     take time. Please be patient.
     2. Do nothing: You will be bound by the settlement, and you will release your claims regarding faxes
     sent by or on behalf of BTL from July 14, 2009 to June 9, 2010, but you will not receive any money. Unless
     you opt out of the Settlement (see below), you give up any right you might have to sue BTL for legal claims
     that the Settlement resolves. You must exclude yourself from the Settlement Class in order to try to
     maintain your own lawsuit. If you start your own lawsuit, you will have to hire your own lawyer, and you
     will have to prove your claims.
     Unless you exclude yourself from the Settlement, you cannot sue or be part of any other lawsuit against
     BTL about the issues in this case, including any existing litigation, arbitration, or proceeding. Unless you
     exclude yourself, all of the decisions and judgments by the Court will bind you. If you file a Claim Form for
     benefits or do nothing at all, you will be releasing BTL from all of the claims described and identified in
     Section [XX] of the Settlement Agreement.
     The Settlement Agreement is available by visiting the Settlement Website [SettlementWebsite.com], calling
     [(###) ###-####] or writing to [SA ADDRESS]. The Settlement Agreement provides more detail regarding
     the release and describes the released claims with specific descriptions in necessary, accurate legal
     terminology, so read it carefully. You can talk to the lawyers seeking to represent the Settlement Class and
     listed above for free, or you can, at your own expense, talk to your own lawyer if you have any questions
     about the released claims or what they mean.
     3. Opt out of the settlement: You have the right to exclude yourself from both the class action and the
     Settlement by submitting a written request by mail to be excluded from the Settlement Class. Your request
     for exclusion must be postmarked on or before [MM DD], 2021. It must list your name, fax number, street
     address, the name and number of this case, it must be personally signed by you, and it must state that you
     are a member of the Settlement Class and that you wish to be excluded (for example, “Exclude me from
     the Buccaneers settlement.”). Mail your exclusion request to the Settlement Administrator, postmarked by
     date above, who will notify Class Counsel, BTL Counsel, and the Court of your request:
                                   [__________] Settlement Administrator
                                   P.O. Box [###]
                                   [City, State #####-####]

                            QUESTIONS? CALL 1-8XX-XXX-XXXX OR GO TO [WEBSITE]
                                                        2
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     You cannot ask to be excluded on the phone, by email or in any other manner.
     You may opt out of the Settlement Class only for yourself. So-called “mass” or “class” opt outs, whether
     filed by third parties on behalf of a “mass” or “class” of members of the Settlement Class or multiple
     members of the Settlement Class where no personal statement has been signed by each and every
     individual member of the Settlement Class, are not allowed.
     4. Object to the settlement: If you are a Settlement Class Member (and do not exclude yourself from
     the Settlement Class) and wish to object to the settlement rather than excluding yourself, you must file a
     written objection with the Clerk of the United States District Court, Middle District of Florida, 801 North
     Florida Avenue, Tampa, Florida 33602. Your objection must be filed by [MM DD], 2021, and must contain
     the name and number of this case (as indicated at the top of this notice). You must also serve copies of
     your objection on Class Counsel (address above) and Defendant’s attorneys, Mark S. Mester and Robert
     C. Collins III, Latham & Watkins LLP, 330 N. Wabash Ave., Suite 2800, Chicago, IL 60611, postmarked by
     the same date. Your objection must include your name, fax number, telephone number and street address,
     along with a statement of the reasons why you believe the Court should find that the proposed settlement
     is not in the best interests of the Settlement Class. If you are represented by counsel, your objection must
     also include the name, bar number, address and telephone number of your counsel. Your objection must
     also include a signed declaration stating that you are a member of the Settlement Class and in 2009 and/or
     2010, received or were successfully sent one or more facsimile advertisements relating to Tampa Bay
     Buccaneers games. It is not sufficient to simply state that you object; you must state your reasons.
     Additionally, if you want the Court to consider your objection, then you must also appear at the final approval
     hearing in Courtroom [###], on [MM DD], 2021, at [HH:MM a.m./p.m.] You are not required to attend this
     hearing unless you object to the settlement.
F.     WILL THE COURT APPROVE THE SETTLEMENT? The Court will hold a final approval hearing on [MM
DD], 2021, at [HH:MM a.m./p.m.], in Courtroom [###] of the United States District Court, Middle District of Florida,
801 North Florida Avenue, Tampa, Florida 33602, at which the Court will hear any timely and properly-filed
objections and arguments about the Settlement. At this hearing, the Court will consider whether the Settlement
is fair, reasonable, and adequate. The Court will also consider the requests by Class Counsel for Attorneys’ Fee
Award and for Inventive Awards to the Class Representatives. After the hearing, the Court will decide whether
to approve the Settlement. It is unknown how long these decisions will take. You are not required to attend
unless you object to the settlement. The hearing may be continued to a future date without further notice. You
are welcome to attend the hearing at your own expense.
G. WHERE CAN YOU GET MORE INFORMATION? If you have specific questions, you can write to Class
Counsel at the address listed above. Include the case number, your name, your fax number, and your current
street address on any correspondence. You may also contact Michael Addison at 813-760-6712 or Anderson +
Wanca, Class Counsel, at 855-827-2329. You can review the Complaint, Settlement documents, and Plaintiffs’
Motion for Attorney Fees and Incentive Award on the settlement website at [SettlementWebsite.com]. You may
also send questions to the Settlement Administrator, [_________], at [Contact Info]. This Notice only summarizes
the Litigation and Settlement. The Court files for this case are available for your inspection at the Office of the
Clerk of Court for the United States District Court for the Middle District of Florida, (Monday through Friday, 8:30
a.m. – 4:00 p.m.) or through the Court’s Public Access to Electronic Records (PACER) system at
https://flmd.uscourts.gov/pacer.
        DO NOT CONTACT THE JUDGE, THE JUDGE’S STAFF, OR THE CLERK OF THE COURT
         BECAUSE THEY CANNOT ANSWER YOUR QUESTIONS ABOUT THE SETTLEMENT.
                    BY ORDER OF THE COURT, HONORABLE ANTHONY E. PORCELLI




                             QUESTIONS? CALL 1-8XX-XXX-XXXX OR GO TO [WEBSITE]
                                                         3
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        EXHIBIT C
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                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

 CIN-Q AUTOMOBILES, INC., et al.,                  )
                                                   )
                                    Plaintiffs,    )             No. 8:13-cv-01592-AEP
 v.                                                )
                                                   )                 Magistrate Judge
 BUCCANEERS LIMITED PARTNERSHIP                    )                Anthony E. Porcelli
 and JOHN DOES 1-10,                               )
                                                   )
                                 Defendants.       )

                        NOTICE OF CLASS ACTION SETTLEMENT

TO:    All persons who received or were successfully sent in 2009 or 2010 one or more
       facsimile advertisements relating to tickets for Tampa Bay Buccaneers games (the
       “Settlement Class”).

This notice informs you of a settlement (“Settlement”) of a class action lawsuit arising from fax
advertisements allegedly sent on behalf of Buccaneers Limited Partnership, now known as
Buccaneers Team LLC (“BTL”) by fax. BTL denies the allegations in the lawsuit, and the Court
has not decided who is right. If approved, however, the Settlement will resolve the entire
controversy. If you received one or more fax advertisements from BTL in the time period July 14,
2009 through June 9, 2010, you may be entitled to claim a share of a $19,750,000.00 settlement
fund (“Settlement Fund”).

The Settlement Fund will be used to pay class member awards, the attorneys’ fee awards, and
incentive awards to Plaintiffs. Awards will be distributed to Settlement Class Members who submit
Valid Claims, and all claims will be subject to audit. Each Settlement Class Member who received
or was successfully sent one or more unsolicited facsimile advertisements relating to tickets for
Tampa Bay Buccaneers games and who submits a Valid Claim shall be eligible to receive up to:
(i) $350 for the first such facsimile; (ii) $125 for the second such facsimile; (iii) $90 for the third
such facsimile; (iv) $25 for the fourth such facsimile; and (v) $25 for the fifth such facsimile. Also,
BTL has agreed that it will not send any future fax advertisement that does not comply with
applicable laws.

You have several choices: (1) submit a claim form, (2) object to any of the Settlement terms,
(3) exclude yourself from the Settlement, or (4) do nothing. If you submit a claim form or do
nothing, you will give up your right to sue BTL about the claims resolved in the Settlement. You
must submit a claim form to be eligible for a payment. If you exclude yourself, you won’t get a
payment but you’ll keep your rights to sue BTL.. Visit [SettlementWebsite.com] or call
[(XXX) XXX-XXXX] for more information about how to file a claim form, object or exclude
yourself from the settlement.




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The Court appointed Michael C. Addison of the Addison Law Office, P.A. law firm and Ross M.
Good, Glenn L. Hara and Brian J. Wanca of the Anderson + Wanca law firm as “Class Counsel”
to represent the Settlement Class. Class Counsel will request 25% of the $19.75 million Settlement
Fund for attorney’s fees, plus the reasonable expenses these firms incurred on behalf of the
Settlement Class, also to be paid from the Settlement Fund. You will not be charged for the services
of these firms. If you want your own attorney, you may hire one at your own expense.

Claim forms are available from the settlement administrator or the website listed below. Claim
forms are due by [MM DD], 2021. If you wish to object to the settlement, you must identify
yourself as a class member and state the reasons for and file and serve your objection by [MM
DD], 2021, and you must appear at the Court hearing on [MM DD], 2021, at [HH:MM a.m./p.m.],
Courtroom [###], United States District Court, Middle District of Florida, 801 North Florida
Avenue, Tampa, Florida 33602.

The Court has scheduled a fairness hearing on the settlement for [MM DD], 2021, at [HH:MM
a.m./p.m.], Courtroom [###], United States District Court, Middle District of Florida, 801 North
Florida Avenue, Tampa, Florida 33602. The Court may move the hearing to a different date or
time without additional notice. At that hearing, the Court will consider whether the settlement is
fair, reasonable, and adequate. The Court will also consider the requests by Class Counsel for
attorney’s fees and expenses, and for incentive awards of $10,000 to the two class representative
plaintiffs who brought the lawsuit. If there are objections, the Court will consider them at that time.
After the hearing, the Court will decide whether to approve the settlement. It is unknown how long
these decisions will take. You are not required to attend this hearing if you do not file an objection.

To obtain information about the settlement and to receive a claim form, immediately contact:

                     [SETTLEMENT ADMIN NAME, ADDRESS, PHONE]

                                      [SettlementWebsite.com]

               PLEASE DO NOT CONTACT THE COURT OR THE JUDGE.




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